                           EXHIBIT B




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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow               )
for the Use and Benefit of Herself and the          )
Next of Kin of RICHARD SMITH, Deceased,             )       Case #: 3:05-00444
                                                    )       Judge Trauger
                                   Plaintiff,       )
                                                    )
                 -against-                          )
                                                    )
PFIZER INC., PARKE-DAVIS,                           )
a division of Warner-Lambert Company                )
and Warner-Lambert Company LLC,                     )
WARNER-LAMBERT COMPANY,                             )
WARNER-LAMBERT COMPANY LLC and                      )
JOHN DOE(S) 1-10,                                   )
                                                    )
                                   Defendants.      )

                         DECLARATION OF CHARLES KING III, Ph.D.

1.     My name is Charles King III. I am an expert witness on marketing and economics in
Smith v Pfizer Inc., one of the cases in MDL-1629, In Re Neurontin Marketing, Sales Practices
and Products Liability litigation. I prepared and submitted a report of my study on October 22,
2007, in MDL-1629, In Re Neurontin. I was deposed by the defendants in MDL-1629, In Re
Neurontin. I testified as an expert witness in Shearer v Pfizer Inc. in April, 2010.

2.      My qualifications as an expert witness include:

        a.       As an economist, I specialize in marketing, industrial organization,
                 microeconomics and econometrics. I have taught economics, marketing and
                 statistical methods in economics; conducted marketing and economic research;
                 and provided economic and marketing consulting in my areas of specialization.
                 As an Assistant Professor in Marketing at the Harvard Business School from 1997
                 to 2003, I taught courses in marketing, information and network economics, and
                 organizational economics in the Masters’ and Doctoral programs.

        b.       I also taught in Harvard Business School’s executive education program for
                 pharmaceutical companies and in IBM’s Premier Program on competitive
                 strategy. Since 1981, I have consulted to private corporations, nonprofit
                 corporations, law firms, consulting companies and research organizations. From
                 2001 through 2009, I have served as a member of the Editorial Review Board for
                 Journal of Public Policy & Marketing. I have been and continue to be a research
                 referee for a variety of academic journals and have been a program reviewer for



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                   the Robert Wood Johnson Foundation. I am the author of various refereed journal
                   articles, working papers and consulting reports.

          c.       My research activities include issues concerning health care and the
                   pharmaceutical industry. For example, I have written an academic working paper1
                   analyzing marketing, product differentiation and competition in the
                   pharmaceutical drug market and published a case study2 evaluating Pepcid’s race
                   against Zantac and other competitors to enter the over-the-counter market. I have
                   published a variety of peer-reviewed articles and cases,3 including applications of
                   marketing and economic analyses to health care and pharmaceutical issues.

          d.       I have experience in applying economic and marketing theories to the
                   pharmaceutical industry. I have submitted testimony and consulted in litigation
                   involving health care and pharmaceutical markets and industries including:

                    Consulting in the litigation brought by the Massachusetts Attorney General
                     against the tobacco companies. Working with a team of health care experts, I
                     submitted written testimony assessing and measuring the impacts of smoking
                     on Medicaid health costs in The Commonwealth of Massachusetts.4
                    Serving as an expert witness for the plaintiffs in Daniels v. Philip Morris Cos.5
                     In that assignment I examined the magazine advertising patterns of cigarette
                     manufacturers.
                    Testifying before the United States Senate on the effect of the Master
                     Settlement Agreement on the potential exposure of young people to cigarette
                     advertising in magazines.6
                    Testifying on the issues of liability and market definition in an antitrust case
                     involving the prescription drug Relafen.7


1
 C. King, “Marketing, Product Differentiation and Competition in the Market for Antiulcer Drugs,” Harvard
Business School, Working Paper No. 0-014 (Sept. 2000).
2
 E.R. Berndt, C. King, L. Klein and A.J. Silk, “Pepcid AC: The Race to Enter the OTC Market,” (9-500-073),
Harvard Business School. Also published in Problems and Cases in Health Care Marketing, edited by J.T.
Gourville, J.A. Quelch and V.K. Rangan, McGraw-Hill Irwin, 2003.
3
  See C. King and D. Narayandas, “Coca-Cola's New Vending Machine (A): Pricing To Capture Value, or Not?” (9-
500-068), Harvard Business School; E.R. Berndt, C. King, L. Klein and A.J. Silk, “Pepcid AC: The Race to Enter
the OTC Market,” (9-500-073), Harvard Business School (also published in Problems and Cases in Health Care
Marketing, edited by J.T. Gourville, J.A. Quelch and V.K. Rangan. McGraw-Hill Irwin, 2003).
4
  The results of this work are described in D. Cutler, A. Epstein, R. Frank, R. Hartman, C. King, J. Newhouse, E.
Richardson and M. Rosenthal, “How Good a Deal was the Tobacco Settlement?: Assessing Payments to
Massachusetts,” Journal of Risk and Uncertainty (2000), 21 (2/3).
5
    Daniels v. Philip Morris Cos., 18 F. Supp. 2d 1110 (S.D. Cal. 1998).
6
  C. King, Statement Before the Committee on Governmental Affairs, Subcommittee on Oversight of Government
Management, Restructuring and the District of Columbia, United States Senate, May 14, 2002 (available at
<http://hsgac.senate.gov/051302king.pdf> as accessed October 2007).



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                      Submitting written testimony regarding discovery and class certification and
                       consulting to counsel for the plaintiffs regarding damages in a case involving
                       the prescription drugs Celebrex and Vioxx.8
                      Submitting written testimony analyzing impact and class certification and
                       consulting to counsel for the plaintiffs regarding damages for the class of
                       direct purchasers of the anti-depressant Paxil9 and for the class of individual
                       purchasers of the prescription drug Vioxx in two separate cases.10
                      Submitting written testimony on behalf of Teva Pharmaceuticals USA, Inc., as
                       defendant, determining whether Abbott Laboratories would suffer immediate
                       “irreparable” harm unless granted an injunction.11
                      Submitting written testimony concerning issues pertaining to class
                       certification, liability and product market definition, and damages and
                       consulting to counsel for the plaintiffs for the class of end payors of the
                       prescription drug TriCor.12
                      Consulting to Greylock McKinnon Associates on litigation involving a broad
                       range of markets, including agricultural, financial13 and pharmaceutical14
                       markets, and legal issues. This consulting related to the following additional
                       drug products: Augmentin,15 Cipro,16 K-Dur,17 Lipitor,18 Lupron,19
                       Neurontin,20 Relefan21 and Remeron.22

7
     In re Relafen Antitrust Litigation, United States District Court, D. Mass. Master File No. 01-CV-12222-WGY.
8
     Heindel et al. v. Pfizer et al., United States District Court, D. New Jersey, Civil Action, Case No. 02-3348 (GEB).
9
 The Stop & Shop Supermarket Company et al. v. SmithKline Beecham Corporation, United States District Court,
Eastern District of Pennsylvania, C.A. No. 03-4578.
10
  Kleinman et al. v. Merck & Co., Inc., Superior Court of New Jersey Law Division: Camden County, Docket No.
ATL-L-7894-04-MT and Anderson et al. v. Merck & Co., Inc., Superior Court of the State of California, County of
Los Angeles, Central Civil West, Case No. BC 324384.
11
    Abbott Laboratories v. Teva Pharmaceuticals USA Inc., United States District Court for the Northern District of
Illinois, Eastern Division, C.A. No. 07 C 2213.
12
     In re: TriCor Indirect Purchaser Litigation, United States District Court, District of Deleware, C.A. No. 05-360.
13
   Lynne A. Carnegie v. Household International, Inc., Household Bank, f.s.b., successor in interest to Beneficial
National Bank, Household Tax Masters Inc., formerly known as Beneficial Tax Masters, Inc., Beneficial Franchise
Company, Inc., H&R Block, Inc., H&R Block Services, Inc., H&R Block Tax Services, Inc., H&R Block Eastern Tax
Services, Inc., Block Financial Corp. and HRB Royalty, Inc., No. 98 C 2178, United States District Court for the
Northern District of Illinois Eastern Division.
14
  In re Pharmaceutical Industry Average Wholesale Price Litigation, United States District Court for the District of
Massachusetts, MDL, No. 1456, CIVIL ACTION: 01-CV-12257-PBS.
15
  In re Augmentin Antitrust Litigation, United States District Court for the Eastern District of Virginia, No. 02-CV-
442.
16
  In re Ciprofloxacin Hydrochloride Antitrust Litigation, Master File No. 1:00-MD-1383, United States District
Court for the Eastern District of New York.
17
   In re K-Dur Antitrust Litigation, Civil Action No. 01-1652 (JAG), (Consolidated Cases), MDL No. 1419, United
States District Court for the District of New Jersey.



Declaration of Charles King III, Ph.D                                                                             Page 3
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3.     I received a bachelor’s degree in astronomy (magna cum laude) from Harvard University
in 1974. I received a juris doctor degree in law from the Yale Law School in 1979 and a Ph.D. in
economics from M.I.T. in 1997. Details of my professional experience, publications, and past
testimony are described in my curriculum vitae, a copy of which is attached to this report as
Exhibit A.

4.     My assignment was to review case materials, company documents, sales and marketing
data and reports, published academic studies and other materials and to compile, synthesize and
analyze these materials as they apply to the marketing of Neurontin. The outcome of my review
culminated in my written expert report and opinions. In forming my opinions, I applied standard
methods and my expertise and experience in marketing and economics. I systematically looked
for materials, both case materials and academic research, relevant to the issues in the case. In
addition, when appropriate, I considered other alternative explanations for my conclusions to
determine their validity. These methods are similar to those commonly used in refereed
academic publications undertaking similar analysis. For example:

                See the Steinman article, “Narrative Review: The Promotion of Gabapentin: An
                 Analysis of Internal Industry Documents,” which appeared in the scientific
                 journal, Annals of Internal Medicine, which undertook identical methods in
                 reaching their conclusion that “[a]ctivities traditionally considered independent of
                 promotional intent, including continuing medical education and research, were
                 extensively used to promote gabapentin. New strategies are needed to ensure a
                 clear separation between scientific and commercial activity.”23
                See Scherer, “The Pharmaceutical Industry” which was published in the
                 Handbook of Health Economics. The methods used in this review article are to
                 analyze, compile and synthesize published academic research and to form
                 opinions about health care economics.24
                See the Fung article, “Systematic Review: The Evidence that Publishing Patient
                 Care Performance Data Improves Quality of Care.” The purpose of this research

18
  In re American Federation of State, County and Municipal Employees, et al., Plaintiffs, vs. GlaxoSmithKline plc,
and SmithKline Beecham Corporation, Defendants, Docket No. 2:02cv442, United States District Court Eastern
District of Virginia Norfolk Division.
19
 In re Lupron Marketing and Sales Practices Litigation, United States District Court, District of Massachusetts,
MDL No. 1430, CA No. 01-CV-10861.
20
  In re Neurontin Marketing and Sales Practices Litigation, MDL Docket No. 1629, Master File No. 04-10981,
United States District Court, District of Massachusetts.
21
  In re Relafen Antitrust Litigation, United States District Court, District of Massachusetts, Master File No. 01-CV-
12222-WGY.
22
  In re Remeron End-Payer Antitrust Litigation, United States District Court for the District of New Jersey, Master
Docket No. 02-CV-2007.
23
  See Steinman, M., L. Bero, M. Chren and C. Landefeld, “Narrative Review: The Promotion of Gabapentin: An
Analysis of Internal Industry Documents,” Annals of Internal Medicine, Vol. 145(4), 2006.
24
  Scherer, “The Pharmaceutical Industry,” in A. Culyer and J. Newhouse eds., Handbook of Health Economics,
Vol. 1, 2000.



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                 was “to synthesize the evidence for using publicly reported performance data to
                 improve quality.” Based on this, the authors conclude that “[e]vidence suggests
                 that publicly releasing performance data stimulates quality improvement activity
                 at the hospital level.”25
                See Rosenthal and Frank, “What is the Empirical Basis for Paying for Quality in
                 Health Care?” where “[t]he authors review the empirical literature on paying for
                 quality in health care and comparable interventions in other sectors. They find
                 little evidence to support the effectiveness of paying for quality.”26

5.      In summary, these are just a few examples of methods commonly used and accepted in
academic research and in health care economics. I use these same standard methods in my report
to reach my conclusions.

6.       Part of my review included an extensive review of materials provided by Defendants. As
I testified, I was provided a computer hard drive with what was represented to be all Warner-
Lambert and Pfizer documents that had been disclosed by those companies in legal discovery.
There were hundreds of thousands of documents. Many of the Warner-Lambert and Pfizer
documents are not self-explanatory and certainly not to a lay person. For example, many of their
marketing documents, such as operating plans, operating goals, marketing plans, publication
plans, sales tracking statistics, or prescription tracking statistics, are not uniform from year-to-
year and employed technical concepts and terminologies.

7.     As part of my analysis, I reviewed Verispan and other sales and marketing data which
were furnished by the Defendants. These data were compiled under my direction and
supervision by Mr. Altman. I note that to my knowledge, Defendants have not challenged the
accuracy of the data that were compiled by Mr. Altman and indeed company records corroborate
these data. For example, compare Bates Numbered document Pfizer_RGlaszman_0000665
(Neurontin Drug Uses – 1994-2000) with Figure 6 in my report (On-label and Off-label Uses of
Neurontin). Both are reproduced below.

8.      In addition, I also relied on Dr. Blume, another expert, for certain Verispan data on
numbers of prescriptions. It is normal and reasonable for economists and marketing experts to
rely on persons with technical knowledge for specific data compilations.




25
   Fung , C., Y. Lim, S. Mattke, C. Damberg and P. Shekelle, “Systematic Review: The Evidence that Publishing
Patient Care Performance Data Improves Quality of Care,” Annals of Internal Medicine, Vol. 148, 2008.
26
  Rosenthal, M. and R. Frank, “What is the Empirical Basis for Paying for Quality in Health Care?” Medical Care
Resarch and Review, Vol. 63(2), April 2006.



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                                                               Verispan Uses by Indication

                         3000




                         2500
                                                                                                             Migraine



                         2000

                                                                                                           Pain                       Migraine
                                                                                                                                      Pain
           Uses (000s)




                                                                                                                                    Migraine
                                                                                                                                      Psychiatric
                         1500
                                                                                                                                      Other
                                                                                                                                      PHN
                                                                                                  Psychiatric                         Epilepsy

                         1000




                         500                                                                         Other


                                                                                  PHN Off-Label                   PHN On-Label
                                         Epilepsy
                           0
                           1994   1995       1996   1997       1998        1999     2000      2001      2002       2003      2004
                                                                           Year
         Source: Data provided by Keith Altman, Finkelstein and Partners




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                                        CERTIFICATE OF SERVICE

        I hereby certify that on this the 27th day of April, 2010, I electronically filed the

foregoing document with the Clerk of the Court, United States District Court for the Middle

District of Tennessee, using the CM/ECF system. True and correct copies of the foregoing

documents are being served via the Court's CM/ECF system on the following:

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                                                     /s/ Kenneth B. Fromson
                                                     Kenneth B. Fromson




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